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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re:                                                      Chapter 15

 PERFORADORA ORO NEGRO, S. DE R.L.                           Case No. 18-11094 (SCC)
 DE C.V., et al.                                             (Jointly Administered)

 Debtors in a Foreign Proceeding.


 FERNANDO PEREZ-CORREA IN HIS                                Adv. Pro. No. 19-01360
 CAPACITY AS FOREIGN
 REPRESENTATIVE OF PERFORADORA
 ORO NEGRO, S. DE R.L. DE C.V.; JOSE
 ANTONIO CAÑEDO-WHITE; CARLOS
 WILLIAMSON-NASI; GONZALO GIL-
 WHITE; AND MIGUEL ANGEL
 VILLEGAS-VARGAS

                            Plaintiffs,

                     -against-

 ASIA RESEARCH AND CAPITAL
 MANAGEMENT LTD.; GHL
 INVESTMENTS (EUROPE) LTD.; ORO
 NEGRO PRIMUS PTE., LTD.; ORO NEGRO
 LAURUS PTE., LTD.; ORO NEGRO
 FORTIUS PTE., LTD.; ORO NEGRO
 DECUS PTE., LTD.; ORO NEGRO
 IMPETUS PTE., LTD.; SHIP FINANCE
 INTERNATIONAL LTD.; and DOES 1-100

                            Defendants.


                         SUMMONS AND NOTICE OF
             PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to
this summons to the clerk of the bankruptcy court. Please note, however, that no answer is due at this time.




 07911-00001/11105480.1
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Address of Clerk:
                                 Clerk of the Court
                                 United States Bankruptcy Court
                                 Southern District of New York
                                 One Bowling Green
                                 New York, New York 10004−1408


Name and Address of
Plaintiff’s Attorney:
                                 Gabriel F. Soledad
                                 Juan P. Morillo (pro hac vice)
                                 Derek L. Shaffer
                                 Daniel Pulecio-Boek
                                 QUINN EMANUEL URQUHART & SULLIVAN
                                 1300 I Street NW, Suite 900
                                 Washington, D.C. 20005
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of
the complaint will be held at the following time and place:
United States Bankruptcy Court                      Room: Courtroom 623 (SCC)
Southern District of New York                       One Bowling Green
One Bowling Green                                   New York, New York 10004−1408
New York, New York 10004−1408                       Date and Time: TBD

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.



Dated: 10/01/2019                          Vito Genna

                                           Clerk of the Court

                                           By:/s/ Carmen Ortiz

                                           Deputy Clerk




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